                   Case 3:18-cr-00114-MAS Document 24 Filed 03/05/19 Page 1 of 5 PageID: 64
AO 2458 (Mod. D/NJ 12/06) Sheet 1 - Judgment in a Criminal Case   ·




                                                           UNITED STATES DISTRICT COURT                RECEIVED
                                                                 District of New Jersey
                                                                                                             NAil" 05 2019
  UNITED STATES OF AMERICA                                                                           AT 8:30
                                                                                                        WILLJAM T. WALS~H M
              V.
                                                                                                             CLERK
                                                                             CASE NUMBER        3: 18-CR-00114-MAS-1

  GREGORY LEPSKY

            Defendant.


                                                           JUDGMENT IN A CRIMINAL CASE
                                                (For Offenses Committed On or After November 1, 1987)


            The defendant, GREGORY LEPSKY, was represented by LISA MACK, AFPD.

The defendant pleaded guilty to count 1 of the INFORMATION on 3/13/2018.                    Accordingly, the court has adjudicat~d that
the defendant is guilty of the following offense:                                                                               :

                                                                                                                          Count ·
 Title & Section                 Nature of Offense                                               Date of Offense          Numbe'r

  18:2339B(a)(1)                 ATTEMPT TO PROVIDE MATERIAL                  SUPPORT      TO    12/24/2016           -   1
  and 23398( d)                  FOREIGN TERRORIST ORGANIZATION                                  2/21/2017


       As pronounced on March 01 , 2019, the defendant is sentenced as provided in pages 2 through 5 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.                                          ·

         It is ordered that the defendant must pay to the United States a special assessment of $100.00 for count 1, which
shall be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

        It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed iby this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorne~ of any
mat~rial change in economic circumstances.

            Signed this         5th   day of March, 2019.



                                                                              ~pp
                                                                              United States District Judge




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                 Case 3:18-cr-00114-MAS Document 24 Filed 03/05/19 Page 2 of 5 PageID: 65
AO 245B (Mod. D/NJ 12/06) Sheet 2 - Imprisonment


                                                                                        Judgment - Page 2 of 5
Defendant: GREGORY LEPSKY
Case Number: 3: 18-CR-00114-MAS-1



                                                        IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 192 months.

        The Court makes the following recommendations to the Bureau of Prisons: Intensive individual and group therapy;
psychiatric treatment; and placement in a deradicalization program if one is currently available or becomes availabl~ in the
future.

        The Court further recommends that the Bureau of Prisons designate a facility for service of this sentence as near
as possible to defendant's home address.                                                                            !

            The defendant will remain in custody pending service of sentence.




                                                           RETURN

            I have executed this Judgment as follows:




    Defendant delivered o n - - - - - - - - - - - - - To _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
A t - - - - - - - - - - - - - - - - - - - - - - - - ' with a certified copy of this Judgment.



                                                                                 United States Marshal


                                                                                  Deputy Marshal
                  Case 3:18-cr-00114-MAS Document 24 Filed 03/05/19 Page 3 of 5 PageID: 66
AO 2458 (Mod. D/NJ 12/06) Sheet 3 - Supervil?ed Relea_se


                                                                                             Judgment - Page 3 of 5
Defendant: GREGORY LEPSKY
Case Number: 3: 18-CR-00114-MAS-1



                                                           SUPERVISED RELEASE

             Upon release from imprisonment, you will be on supervised release for a term of life.

         Within 72 hours of release from custody of the Bureau of Prisons, you must report in person to the Probation: Office
in the district to which you are released.

         While on supervised release, you must not commit another federal, state, or local crime, must refrain frqm any
unlawful use of a controlled substance and must comply with the mandatory and standard conditions that have been adopted
by this court as set forth below.                                                             '

        You must submit to one drug test within 15 days of commencement of supervised release and at least twp tests
thereafter as determined by the probation officer.

            You must cooperate in the collection of DNA as directed by the probation officer

         If this judgment imposes a fine, special assessment, costs, or restitution obligation, it is a condition of supervised
release that you pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release.

            You must complywith the following special conditions:

            ALCOHOUDRUG TESTING AND TREATMENT

            You must refrain from the illegal possession and use of drugs, including prescription medication not presc~ibed in
            your name, and the use of alcohol, and must submit to urinalysis or other forms of testing to ensure compli~nce. It
            is further ordered that you must submit to evaluation and treatment, on an outpatient or inpatient basis, as approved
            by the U.S. Probation Office. You must abide by the rules of any program and must remain in treatment until
            satisfactorily discharged by the Court. You must alert all medical professionals of any prior substance abuse history,
            including any prior history of prescription drug abuse. The U.S. Probation Office will supervise your compliance with
            this condition.

            GANG/CRIMINAL ASSOCIATIONS PROHIBITION

            You must refrain from associating with, or being in the company of, any members of any street gang, outlaw    1




            motorcycle gang, traditional or non-traditional organized crime group, or any other identified threat group. You are
            restricted from frequenting any location where members of said organizations are known to congregate or meet.
            You must not have in your possession any item or paraphernalia which has any significance or is evidence of
            affiliation with said organizations.

            MENTAL HEALTH TREATMENT

            You must undergo treatment in a mental health program approved by the U.S. Probation Office until discharged by
            the Court. As necessary, said treatment may also encompass treatment for gambling, domestic violence and/or
            anger management, as approved by the U.S. Probation Office, until discharged by the Court. The U.S. Probation
            Office will supervise your compliance with this condition.

            LIFE SKILLS/EDUCATION

            As directed by the U.S. Probation Office, you must participate in and complete any educational, vocational, cqgnitive
            or any other enrichment programs offered by the U.S. Probation Office or any outside agency or establi~hment ·
            while under supervision.                                                                                      i
                  Case 3:18-cr-00114-MAS Document 24 Filed 03/05/19 Page 4 of 5 PageID: 67
AO 2458 (Mod. D/NJ 12/06) Sheet 3a - Supervised Release


                                                                                                Judgment- Page 4 of 5
Defendant: GREGORY LEPSKY
Case Number: 3: 18-CR-00114-MAS'"1



                                                 STANDARDCONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. The·se conpitions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
                                                                                                                      I
and condition.


1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
   of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
   within a different time frame.

2)    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
      how and when you must reRort to the probation officer, and you must report to the probation officer as instructed[

3)    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
      permission from the court or the probation officer.

4)    You must answer truthfully the questions asked by your probation officer.

5)     You must live at a place approved by the probation officer. If you plan to change where you live or anything abo1.:1t your
       living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
     . change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you mu~t notify
       the probation officer within 72 hours of becoming aware of a change or expected change.

6)    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
      probation officer to take an~, items prohibited by the conditions of your supervision that he or she observes in plain
      view.

7)    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
      excuses you from doing so. If you do not have fulltime employment you must try to find full-time employment, un.less
      the probation officer excuses you from doing so. If you plan to change where you work or anything about your wprk
      (such as your position or your job responsibilities), you must notify the probation officer at least 1O days before the
      change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
      circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
      change.

8)     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
       has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
     · the permission of the probation officer.

9)    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

1O) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon· (i.e ..
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or tasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.
                                                                                                                              i
12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probatipn
    officer may contact the person and confirm that you have notified the person about the risk.
                         Case 3:18-cr-00114-MAS Document 24 Filed 03/05/19 Page 5 of 5 PageID: 68
       AO 2456 (Mod. D/NJ 12/06) Sheet 3a - Supervised Release


                                                                                                                    Judgment - Page 5 of 5
       Defendant: GREGORY LEPSKY
       Case Number: 3:18-CR-00114-MAS-1



                                                        STANDARD CONDITIONS OF SUPERVISION

      13) You must follow the instructions of the probation officer related to the conditions of supervision.




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1
                                                                 For Official Use Only- - - U.S. Probation Office                                      '.

         Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
      or (2) extend the term of supervision and/or modify the conditions of supervision.

          These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them.

        You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
      associate Probation Officers.

                                            (Signed) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _-----'----'--
                                                               Defendant                        Date



                                                                 U.S. Probation Officer/Designated Witness                           Date
